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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION



UNITED STATES OF AMERICA


       vs.                                          CASE NO.8:05-CR-44-T-24TBM

STEVEN HARDY
     Defendant


                                        ORDER


        This matter is before the Court on Defendant Steven Hardy’s Motion to Strike

Government’s Notice of Intent to Introduce Evidence under Fed. R. Evid. 404(b) (doc.132).

On July 1, 2005, the Government filed a notice of intent to introduce evidence under Fed. R.

Evid. 404(b). Specifically the notice states “the evidence the United States intends to introduce

under Rule 404(b) includes testimony and other evidence of drug dealing activities engaged in

by the defendants, including illegal drug sales and transactions with one or more of confidential

informants and cooperating defendants in this case, prior to the acts charged in the Second

Superseding Indictment.” The defendant submits that the notice is vague and overly broad.

This Court agrees

       There are four defendants set for trial. Based on the notice neither the defendants nor

the Court can discern whether the notice of prior drug dealing activities applies to all four

defendants or only some of them. In addition, based on the notice, it is not clear in what time

frame the prior bad acts occurred. Although the Advisory Committee Notes to Rule 404(b) state
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the Committee opted for a “generalized notice provision”, the Notes also state the intent of the

notice is to “reduce surprise and promote early resolution on the issue of admissibility.” The

Rule 404(b) notice filed by the Government is far too general to either reduce surprise or

promote early resolution on the issue of admissibility by the Court.

       The Motion to Strike is GRANTED. The Government may file an amended 404(b)

notice which more clearly apprises the specific defendants of the prior bad acts it intends to

introduce.



       Done and ordered in Tampa, Florida this 7th day of July, 2005.




Copies: Counsel of Record




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